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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


  TANYA GERSH,
                                                     CV 17-50-M-DLC-JCL
                       Plaintiff,

  vs.                                                 ORDER

  ANDREW ANGLIN,

                       Defendant.

        Plaintiff Tanya Gersh has filed a motion to vacate the deadline for amending

the pleadings pending the Court’s ruling on Defendant Andrew Anglin’s motion to

dismiss. Because discovery in the case has been stayed pending that ruling (Doc.

41, at 1-2), Plaintiff explains that the parties have not had sufficient time to do the

discovery necessary to determine whether to amend their pleadings to add

additional parties, claims, or defenses. Defendant argues Plaintiff has not

established good cause for modifying the scheduling order as required under

Federal Rule of Civil Procedure 16(b)(4) because she could have accomplished the

necessary discovery before the Court imposed the stay. The Court has considered

the parties’ respective arguments and finds that Plaintiff has sufficiently

established good cause for vacating the deadline for amending the pleadings.

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Accordingly,

      IT IS ORDERED that Plaintiff’s motion is GRANTED and the March 16,

2018, deadline for amending the pleadings is VACATED. The Court will reset the

motions deadline and other pretrial deadlines if necessary after ruling on

Defendant’s motion to dismiss.

             DATED this 21st day of March, 2018.



                                              ______________________________
                                              Jeremiah C. Lynch
                                              United States Magistrate Judge




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